  Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58                   Desc
                Complaint to Avoid Unperfected Lien Page 1 of 52



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Attorneys for Trustee

                          IN THE UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF IDAHO

 In re:                                            Case No. 19-00880-JDP

 RYAN WILLIAM HAWKES,
 SUZANN MARGARET HAWKES,

 Debtors.


                                                   Adversary No. 21-_____________JDP
 FORD ELSAESSER, solely in his capacity as
 Chapter 7 Trustee for the above-referenced        COMPLAINT TO AVOID UNPERFECTED
 bankruptcy estate,                                LIEN

              Plaintiff

 vs.

 DA CAPITAL INVESTMENTS, LLC, an
 Idaho limited liability Company; DOES 1-5,

              Defendants.


          The Plaintiff, FORD ELSAESSER (the “Trustee”), by and through his counsel of record

SMITH + MALEK, PLLC, complains and alleges as follows:




COMPLAINT TO AVOID UNPERFECTED LIEN - 1
  Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58                      Desc
                Complaint to Avoid Unperfected Lien Page 2 of 52




                                     NATURE OF ACTION

       1.      In this Adversary Proceeding, the Trustee seeks an order avoiding, as an

unperfected or invalid lien pursuant to 11 U.S.C. §§ 544, 550 and/or 558, the lien held by DA

Capital Investments, LLC (“DA Capital”) in a parcel of real property located in Ada County, Idaho,

legally described as:

               LOT 14, BLOCK 44 OF BROOKWOOD SUBDIVISION NO. 10,
               ACCORDING TO THE OFFICIAL PLAT THEREOF, FILED AS
               INSTRUMENT NO. 104066870 IN BOOK 89 OF PLATS AT
               PAGES 10,263 THROUGH 10,266, RECORDS OF ADA
               COUNTY, IDAHO. SUBJECT TO RESTRICTIVE COVENANTS
               AND CONDITIONS RECORDED OCTOBER 30, 2001,
               INSTRUMENT NO. 100013379, RECORDS OF ADA COUNTY,
               IDAHO

               Property Tax Parcel Number: R1097050120

(hereinafter, the “Property”).

                                            PARTIES

       2.      Plaintiff, Ford Elsaesser, is the duly-appointed Chapter 7 Trustee of the above

referenced bankruptcy proceeding.

       3.       Upon information and belief, Defendant DA Capital Investments, LLC is an Idaho

limited liability company with an address of 3059 S. Bear Claw Place, Meridian, Idaho 83642

which allegedly holds a lien against the Property pursuant to a certain deed of trust.

       4.      Defendants Does 1-5 are individuals or entities which may also claim an interest in

the Property by virtue of the DA Capital lien. The exact identity of these parties is presently

unknown. Should the Trustee become aware of the identities of these parties (if any), the Trustee

will amend this Complaint to name those additional parties.




COMPLAINT TO AVOID UNPERFECTED LIEN - 2
  Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58                       Desc
                Complaint to Avoid Unperfected Lien Page 3 of 52



                                     JURISDICTION AND VENUE

       5.      This Adversary Proceeding arises under Title 11 of the United States Code

andarises in or is related to the captioned Chapter 7 case now pending in the United States

Bankruptcy Court for the District of Idaho at Case Number 19-00880-JDP.

       6.      This Court has jurisdiction over this adversary proceeding pursuant to the

provisions of 11 U.S.C. § 105 and 28 U.S.C. §§ 157, 2201 and 1334, all pursuant to the standard

order of reference entered in this District.

       7.      The Trustee asserts the claims being pursued in this Adversary Proceeding are “core

proceedings” pursuant to 28 U.S.C. § 157 and related authority. To the extent the claims

pursued herein are not core proceedings, the Trustee expressly consents to the Bankruptcy Court

entering final orders and judgments on all claims in this proceeding.

       8.      To the extent not a core proceeding, this is a “related to” proceeding under 28

U.S.C. § 157(c). Venue is proper under 28 U.S.C. § 1409(a).

       9.      This proceeding is brought pursuant to 11 U.S.C. § 105, Rule 65 of the Federal

Rules of Civil Procedure, and Rules 7065 and 7001(7) of the Federal Rules of Bankruptcy

Procedure.

                                       FACTUAL BACKGROUND

       10.      Prior to May 25, 2017, DA Capital agreed to loan C.A.R.S. Enterprises, Inc., an

Idaho limited liability company, the sum of $2,800,000.00 (the “C.A.R.S. Loan”).

       11.     On or about May 25, 2017, a Loan Agreement and Promissory Note were created

evidencing the C.A.R.S. Loan (the “C.A.R.S. Loan Agreement” and “C.A.R.S. Promissory Note”).

       12.     Attached hereto as Exhibit A and Exhibit B are true and correct copies of the

C.A.R.S. Loan Agreement and the C.A.R.S. Promissory Note.




COMPLAINT TO AVOID UNPERFECTED LIEN - 3
  Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58                       Desc
                Complaint to Avoid Unperfected Lien Page 4 of 52



        13.     The Loan Agreement and the Promissory Note were signed by Ryan Hawkes,

Debtor, in his capacity as President of C.A.R.S. Enterprises, Inc.

        14.     On May 25, 2017, a deed of trust was signed, allegedly to secure the C.A.R.S.

Promissory Note (the “Deed of Trust”).

        15.     A true and correct copy of the Deed of Trust is attached hereto as Exhibit C.

        16.     Ryan Hawkes and Suzann Hawkes, Debtors, signed the Deed of Trust on page 25

in their individual capacities.

        17.     One of the properties purportedly encumbered by the Deed of Trust is the Property.

        18.     At all relevant times, Debtors owned the Property.

        19.     Ryan Hawkes’ and Suzann Hawkes’ signatures were notarized by Curtis Grieve,

with the notary acknowledgment stating as follows:

                       On the 25 day of May, 2017, Ryan W. Hawkes and Suzann
                Hawkes, the signers of the foregoing instrument, personally
                appeared before me, a notary public in and for said State, and
                acknowledged to me that they executed the same.

Exhibit C, at 25.

        20.     Notwithstanding the language in the notary acknowledgment, there was no actual

acknowledgement of the document by Suzann Hawkes and/or Ryan Hawkes before Curtis Grieve.

        21.     The Deed of Trust was recorded in the official records of Ada County, Idaho on

December 27, 2017 as Instrument No. 2017-123413.

        22.     On or about July 31, 2019, (the “Petition Date”), Ryan Hawkes and Suzann Hawkes

filed a Chapter 7 Voluntary Petition (Case No. 19-00880-JDP - the “Bankruptcy Case”).

        23.     On or about August 28, 2019, Noah Hillen was appointed as Chapter 7 Trustee in

the Bankruptcy Case.




COMPLAINT TO AVOID UNPERFECTED LIEN - 4
  Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58                          Desc
                Complaint to Avoid Unperfected Lien Page 5 of 52



       24.     On or about August 31, 2020, Trustee was appointed as the successor trustee in the

Bankruptcy Case.

                         CLAIM 1- AVOIDANCE OF UNPERFECTED LIEN

       25.     Trustee reasserts all the foregoing paragraphs as if fully set forth again herein.

       26.     As of the commencement of a case, a trustee has the rights and powers of or may

avoid any transfer of property of the debtor that is voidable by (a) a judgment creditor, (b) a secured

creditor, or (c) a bona fide purchaser of the property. 11 U.S.C. § 544(a)(1)-(3).

       27.     As of July 30, 2019, the Trustee assumed the rights and powers of a judgment

creditor, secured creditor of bona purchaser of the Property.

       28.     At all relevant times, Debtors were the sole owners of the Property.

       29.     The Deed of Trust contains the following Notary Acknowledgment:

                      On the 25 day of May, 2017, Ryan W. Hawkes and Suzann
               Hawkes, the signers of the foregoing instrument, personally
               appeared before me, a notary public in and for said State, and
               acknowledged to me that they executed the same.
       30.     Pursuant to Idaho law in effect when the Deed of Trust was notarized, before an

instrument may be recorded, it must be properly acknowledged by the person executing it. Idaho

Code §§ 55-707, 55-805; Salladay v. Bowen, 161 Idaho 563, 388 P.3d 577 (2017).

       31.     Pursuant to Idaho law in effect when the Deed of Trust was notarized, the notary

cannot take the requisite acknowledgment unless the signer of the instrument declares that he or

she has, in fact, executed the instrument. See Hillen v. Lucille Borses Family Trust (In re Shiloh

Mgmt. Servs., Inc.), 2020 WL 6038301 at *8-9. If the notary does no more than confirm the identity

of the signer of the document and observe the signature, the notary has not carried out his or her

statutory duty to take an “acknowledgment.” Id. at *9-10. In the case of a deed of trust purporting




COMPLAINT TO AVOID UNPERFECTED LIEN - 5
  Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58                         Desc
                Complaint to Avoid Unperfected Lien Page 6 of 52



to encumber real property in Idaho, an unacknowledged deed of trust should not be recorded and

is voidable by the Trustee. Id., at *10.

         32.   As a direct and proximate result of the foregoing, the Trustee is entitled to an order

preserving and avoiding the Deed of Trust for the benefit of Debtors’ bankruptcy estate, pursuant

to 11 U.S.C. §§ 544(a)(1)-(3), 550, and 551.

                               CLAIM 2 - AVOIDANCE OF LIEN

         33.   Trustee reasserts all of the foregoing paragraphs as if fully set forth again herein.

         34.   For the reasons stated in the above paragraphs, the Deed of Trust is defective.

         35.   Trustee, on behalf of the estate, benefits from any defenses available to the Debtors

as against the validity of the Deed of Trust. See 11 U.S.C. § 558.

         36.   On account of these defects, Trustee is entitled to a declaration that the Deed of

Trust is invalid as a lien against the Property pursuant to applicable Idaho state law and 11 U.S.C.

§ 558.




COMPLAINT TO AVOID UNPERFECTED LIEN - 6
  Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58                         Desc
                Complaint to Avoid Unperfected Lien Page 7 of 52



                                        PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for relief against Defendants as follows:

       1.      On Claim 1, for an order, pursuant to 11 U.S.C. §§ 544 and 550, avoiding and

recovering for the bankruptcy estate the Deed of Trust as an unperfected lien on the Property and

preserving the lien for the benefit of the bankruptcy estate pursuant to 11 U.S.C. § 551.

       2.      On Claim 2, for an order, pursuant to 11 U.S.C. § 558, avoiding and/or invalidating

the Deed of Trust as faulty under applicable Idaho state law.

       3.      For such other and further relief as the Court may deem just and equitable.



       DATED this 29th day of July, 2021.

                                                     ___/s/Kirk J. Houston_________
                                                     KIRK J. HOUSTON
                                                     Attorney for Trustee




COMPLAINT TO AVOID UNPERFECTED LIEN - 7
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
              Complaint to Avoid Unperfected Lien Page 8 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
              Complaint to Avoid Unperfected Lien Page 9 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 10 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 11 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 12 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 13 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 14 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 15 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 16 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 17 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 18 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 19 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 20 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 21 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 22 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 23 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 24 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 25 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 26 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 27 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 28 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 29 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 30 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 31 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 32 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 33 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 34 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 35 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 36 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 37 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 38 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 39 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 40 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 41 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 42 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 43 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 44 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 45 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 46 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 47 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 48 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 49 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 50 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 51 of 52
Case 21-06008-JDP Doc 1-1 Filed 07/29/21 Entered 07/29/21 16:13:58   Desc
             Complaint to Avoid Unperfected Lien Page 52 of 52
